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P|aintiffs )
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v. ) No.: 04-2630 ov
) JuRY DEMANDED
JEANETTE MART|N, d/b/a Martin Construction, )
RoY wAYNE MART|N, JR., ark/a Wayne Marrin, )
dlbla/ iVlartin Construction, MONETTE McCa|| F|NLEY, ) 0
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Defendants. § §F-l% g '.c

 

MOT|ON FOR LEAVE TO W|THDRAW AS COUNSEL FOR DEFENDANTS,
JEANETTE MARTlN AND WA¥NE MART|N

COMES NOW Larry E. Parrish, P.C., counsel of record for defendantl Jeanette Martin and
Wayne Nlartin (hereinafter “the Martins"), and respectfully moves the court to enter an order
granting Larry E. Parrish, P.C. leave to withdraw as counsel of record for the Martins.

FOR CAUSE, by the fact that the Nlartins have failed to make payment of fees and to
reimburse for out-of-pocket expenses advanced, after due notice that the instant motion would be
filed unless payment was made, Larry E. Parrish, P.C. has no other conclusion to reach except that

the Martins no longer desire to have the services of Larry E. Parrish, P.C. as counsel of record in

the instant case.

      
  
    
 

z MOTIQN GRANT£D
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= RNICE BOUIE DONALD--
U.S. DlSTRlCY JUDGE

          

 
 

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FOR FURTHER CAUSE, Larry E. Parrish, P.C. has advised the Martins of the
consequences of the Martins not being represented by counsel in the instant case and strongly
advised that the Martins retain substitute counsel to repiace Larry E. Parrish, P.C. as counsel of
record should the Martins choose not to pay Larry E. Parrish, P.C. for services rendered directly in
connection with the instant case since October 2004.
FOR FURTHER CAUSE, the failure of the Martins to pay amounts due and owing Larry E.
Parrish, P.C. will create the potential for an adversarial relationship between Larry E. Parrish, P.C.
and the Martins making continued representation by i_arry E. Parrish, P.C. of the Martins as

counsel of record in the instant case ethically impossible

Respectfully submitted:

i_ARR\f E. PARR|SH, P.C.

 

Larry E. Parrish, BP #8464
The Crescent Center

6075 Poplar Avenue, Suite 420
Memphis, Tennessee 38119
(901) 767-8000

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CERT|F|CATE OF SERV|CE

 

The undersigned hereby certifies that a true and correct copy of the foregoing MOT|ON
FOR LEAVE TO WlTHDRAW AS COUNSEL FOR DEFENDANTS was forwarded to Jeanette
Martin and Wayne Martin via certified mail return receipt requested, and the following counsels of
record on this the _L‘\:day of June 2005 by first class U.S. Mai|, postage prepaid:

Michael L. Weinman, Esq. C. Barry Crutchfie|d, Pro Se
WElNMAN & ASSOC|ATES TEMPLETON AND CRUTCHF|ELD
114 South Liberty Street 113 E. Washington

P.O. Box 266 Lovington, New Mexico 88260

Jackson, Tennessee 38302-0266

v

/ _._-~___

Larry E. Parrish

"L

 

CERT|F|CATE OF CONSULTAT|ON
Pursuant to L.R. 7.2(a)(1)(B)l the undersigned has consulted with counsel for P|aintiffs and

Defendant, C. Barry Crutchfie|dl acting pro se, who consent to the entry of an order granting the
Motion for Leave to Withdraw as Counse| for Defendants, Jeanette Martin and Wayne Martin.

Larry‘E. Parrish

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'1'R11 COURT - WESTERN11$RCT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in

case 2:04-CV-02630 Was distributed by faX, mail, or direct printing on

June 20, 2005 to the parties listed.

 

Larry E. Parrish

LAW OFFICES OF LARRY E. PARRISH

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Michael L. Weinman
WEINMAN & ASSOCIATES
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Jackson7 TN 3 8302

Honorable Bernice Donald
US DISTRICT COURT

